        Case 3:18-cv-00460-AC          Document 26        Filed 10/02/20      Page 1 of 1




Men-ill Schneider, OSB #77336
men-illschneider@schneiderlaw.com
Schneider Ken & Robichaux
PO Box 14490
Portland, Oregon 97293
Phone: 503-255-9092
Fax: 503-255-9145
Attorney for Plaintiff


                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON



  SEAN REILLY,                                                                  3: 18-cv-00460-AC
         Plaintiff,
                                                                     ORDER FOR ATTORNEY
          v.                                                    FEES UNDER42 U.S.C. § 406(b)

  COMMISSIONER OF SOCIAL SECURITY,
        Defendant.




       The court finds and orders an attorney fee of $22,258.75 pursuant to 42 U.S.C. § 406(b).

Such funds shall be paid to Schneider, Kerr & Robichaux, PO Box 14490, Portland, OR 97293.

The attorney fee of2,370.77 allowed pursuant to the Equal Access to Justice Act will be refunded

to Plaintiff upon counsel's receipt of the allowed 406(b) fee awarded.




                                                     Joln{ V. ~costa
                                                          1
                                                     Unit ii:_d fates Magistrate Judge
